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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: ALAMO MECHANICAL, LLC                                   Case No. 18-51706 KMS
       Debtor-In-Possession                                    Chapter 11 Proceeding

                MOTION TO DISMISS CHAPTER 11 PROCEEDING

       COMES NOW Ken E. Blanchard, by and through undersigned counsel, pursuant

to 11 U.S.C. § 1112(b) and Fed. R. Bankr. P. 1017, and files this Motion to Dismiss in

the above-styled cause and, in support thereof, would show the following:

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and 11 U.S.C. § 1112. This matter constitutes a core proceeding pursuant to 28

U.S.C. § 157(b).

       2.      On August 31, 2018, Keith Ladner, acting without authority, filed a

Chapter 11 petition for relief on behalf of Alamo Mechanical, LLC. The Debtor is

currently acting as debtor-in-possession.

       3.      With some exceptions, with proper notice and hearing, “the Court shall

convert a case under [Chapter 11] to a case under Chapter 7 or dismiss a case under

[Chapter 11], whichever is in the best interests of creditors and the estate, for cause

unless the court determines that the appointment under 1104(a) of a trustee or examiner is

in the best interest of the creditors and the estate.” 11 U.S.C. 1112(b)(1).

       4.      Pursuant to §1112(b), grounds for cause exist to dismiss this proceeding.

These grounds include, but are not limited to the following:

               a. Judicial dissolution of the entity; and

               b. Absence of a reasonable likelihood of rehabilitation.
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       5.      The filing Debtor has demonstrated bad faith in this case by filing a

petition for relief literally a day after the Chancery Court Judge judicially dissolved

Alamo Mechanical, LLC and held Keith Ladner in contempt and sanctioned him for

repeated violations of Chancery Court orders. Examples of his bad faith are delineated in

the Order of the Chancery Court, attached here as an exhibit to this motion. The Debtor

seeks to subvert the ruling of the Chancery Court judge in violation of Rooker-Feldman

Doctrine by trying to reorganize an entity that has been judicially dissolved due to

malfeasance by one of the members. Furthermore, the Debtor seeks to continue to deny

Ken E. Blanchard the relief as set out in the ruling from Chancery Court of Hancock

County, Mississippi.

       6.      Most courts have expressly interpreted 11 U.S.C. §1112 to include

dismissal of a chapter 11 case due to "the lack of good faith in its filing." See, e.g., In re

Humble Place Joint Venture, 936 F.2d 814, 816-17 (5th Cir. 1991). Other courts have

held that "an implicit prerequisite to the right to file [a chapter 11 petition] is good faith

on the part of the debtor, the absence of which may constitute cause for dismissal...."

Carolin Corp. v. Miller, 886 F.2d 693, 698 (4th Cir. 1989) (citing In re Winshall Settlor's

Trust, 758 F.2d 1136, 1137 (6th Cir. 1985)).

       7.      The Southern District of Mississippi has defined “bad faith” as simply the

opposite of “good faith,” generally implying or involving actual or constructive fraud, or

a design to mislead or deceive another, or a neglect or refusal to fulfill some duty or some

contractual obligation, not prompted by an honest mistake as to one's rights or duties, but

by some interested or sinister motive. The term “bad faith” is not just bad judgment or

negligence, rather implying the conscious doing of a wrong because of dishonest purpose
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or moral obliquity; it is different from the negative idea of negligence in that it

contemplates a state of mind affirmatively operating with furtive design or ill will. Stath

v. Williams [174] Ind.App. [369] 367 N.E.2d 1120, 1124 [ (1977) ]. Black's Law

Dictionary (6th ed. 1990). In re Siegfried, 219 B.R. at 584.

       8.      The ruling from the Chancery Court of Hancock County, Mississippi,

delineates Ladner’s continual misleading and deceptive actions that demonstrate his

history of bad faith that continues into the filing of the instant action which warrants

dismissal of the bankruptcy.

       9.      The Movant reserves the right to provide additional grounds for cause to

dismiss this case at any hearing on this matter.

       WHEREFORE, PREMISES CONSIDERED the Movant prays that his Motion to

Dismiss will be granted. The Movant prays for general relief.

       RESPECTFULLY SUBMITTED this the 10th day of September, 2018.

                                              Ken E. Blanchard, Movant, by

                                              /s/Donald W. Medley
                                              Donald W. Medley
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                               CERTIFICATE OF SERVICE

       I, Donald W. Medley, do hereby certify that I have this day served, either by the
Notice of Electronic Filing or mailed, postage prepaid, by First Class U. S. Mail, a true
and correct copy of the above and foregoing Motion to Dismiss to the following named
individuals, parties, and/or entities on this the 10th day of September, 2018.

                                            /s/Donald W. Medley
                                            Donald W. Medley

Acting U. S. Trustee
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